        Case 2:21-mc-01230-JFC Document 2713 Filed 04/10/24 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-                )
 LEVEL PAP, AND MECHANICAL                        )     Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                              )
 LITIGATION,                                      )     MDL No. 3014
                                                  )
 This Document Relates to:                        )     (Oral Argument Requested)
                                                  )
 Second Amended Master Long Form                  )
 Complaint for Personal Injuries and              )
 Damages, and Demand for Jury Trial (ECF          )
 No. 2505 / 2511 (under seal))                    )


             PLAINTIFFS’ RESPONSE IN OPPOSITION TO PHILIPS RS
           NORTH AMERICA LLC’S MOTION TO DISMISS PURSUANT TO
           FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) AND 12(b)(6)

       Plaintiffs hereby file this Response in Opposition to Philips RS North America LLC’s

Motion to Dismiss Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) (ECF 2573),

for the reasons set forth in the accompanying Brief in Opposition.

DATED: April 10, 2023                                 Respectfully submitted,

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    Case 2:21-mc-01230-JFC Document 2713 Filed 04/10/24 Page 2 of 2




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